           Case 2:22-mc-00069-RSL Document 1-9 Filed 08/12/22 Page 1 of 2


From:            Kortz, Mason
To:              Jack DiSorbo; Freeman, Daniel (CRT); Mellett, Timothy F (CRT); Rupp, Michelle (CRT); Anderson, Jacki (CRT);
                 Berlin, Holly (CRT); Lott, Jasmin (CRT); Malhi, Jaywin (CRT)
Cc:              Patrick Sweeten; Will Thompson; Ari Herbert; Kathleen Hunker; Munera Al-Fuhaid; Aaron Barnes; Zachary Berg;
                 Frank Chang; Taylor Meehan; patrick@consovoymccarthy.com
Subject:         RE: Subpoena to Dave"s Redistricting App, LULAC v. Abbott, No. 3:21-cv-259 (Redistricting)
Date:            Tuesday, August 9, 2022 11:24:18 AM


Hi Jack –

I can confirm that Dave’s Redistricting plans not to take a position with regard to either the motion
to quash or the motion for a stay. Thanks for checking,

Mason Kortz
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Clinical Instructor
Harvard Law School Cyberlaw Clinic
Berkman Klein Center for Internet & Society
Phone: (617)-495-2845
Pronouns: he/him or they/them




From: Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Sent: Tuesday, August 9, 2022 10:36 AM
To: Freeman, Daniel (CRT) <Daniel.Freeman@usdoj.gov>; Mellett, Timothy F (CRT)
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<frank@consovoymccarthy.com>; Taylor Meehan <taylor@consovoymccarthy.com>;
patrick@consovoymccarthy.com
Subject: Subpoena to Dave's Redistricting App, LULAC v. Abbott, No. 3:21-cv-259 (Redistricting)

Good morning counsel,

I am writing regarding the subpoena the United States served on Dave’s
Redistricting App. On behalf of Representative Jacey Jetton and Adam Foltz, we
intend to move to quash the subpoena. We believe involuntary production of the
materials in Dave’s possession would violate the legislative privilege. We also
intend to move for a stay of the subpoena pending decision on the motion to
quash. This would give the Court sufficient time to consider the motion before
Dave’s is required to produce the relevant materials.
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Counsel for the United States -- I understand from previous discovery discussions
on similar topics that you do not believe the legislative privilege applies to these
documents. Of course, we would be happy to meet and confer if I misunderstand,
or if there are other subjects you think would be helpful to discuss. But I
understand us to be in disagreement regarding whether the documents must be
produced.

Will you please let me know if you would like to confer on these issues? I am
generally available today.

If not, please advise by 5:00 pm: (1) whether you oppose the motion to quash; and
(2) whether you oppose the motion to stay the subpoena pending decision on the
motion to quash.

--

Mason -- I understand from previous conversations that Dave’s may want to not
take a position on the motion to quash. Will you please confirm if that is Dave’s
position?

And will you also please advise whether you agree, oppose, or take no position on
the motion to stay? Also, I would be happy to discuss any of this if helpful.

Thank you,

Jack DiSorbo

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